          Case 1:19-cr-00499-RA Document 56 Filed 11/02/20 Page 1 of 1
                                         LAW OFFICES
                          CHRISTOPHER MADIOU
WOOLWORTH BUILDING                                                            P (917) 408 - 6484
233 BROADWAY – SUITE 2208                                                     F (212) 571 - 9149
NEW YORK, NY 10279                                                      CHRIS@MADIOULAW.COM
                                      WWW.MADIOULAW.COM


                                                                    November 2, 2020

The Honorable Ronnie Abrams
Thurgood Marshall
United States Courthouse
40 Foley Square
New York, NY 10007


               Re: Bail modification - U.S. v. Jorge Acosta Rodriguez, 19 Cr. 499 (RA)

Dear Judge Abrams,

        I represent Jorge Acosta Rodriguez in the above-mentioned case. Mr. Acosta Rodriguez
is currently released on bail and is participating in the SDNY Young Adult Opportunity
Program.

        I respectfully ask the Court to modify Mr. Acosta’s bail conditions so that he may move
to Reading, PA to live with his mother. Pretrial Officer Rena Bolin has consented to this
modification so that Mr. Acosta can be close to his family. Mr. Acosta will continue to
participate in the YAOP remotely and will travel to the SDNY in the event that the program
requires his physical presence in the district. Mr. Acosta is currently employed and doing well in
the program. He expects to obtain a job in Reading, PA with the help of his mother.

       I am informed by AUSA Daniel Nessim that the government has no objection to the
proposed modification.

       Thank you in advance for your consideration.


                                     Sincerely,



                                     Christopher Madiou
                                     Counsel for Jorge Acosta Rodriguez


                                                                     Application granted.

Cc:    AUSA Dan Nessim (via ECF)                                     SO ORDERED.
       U.S. Pretrial Services Officer Rena Bolin (via email)

                                                                     ______________________
                                                                     Ronnie Abrams, U.S.D.J.
                                                                     November 2, 2020
